     Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 1 of 26




                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                         STATE SBORO DIVISION
ANTONIO LAMONT MURRAY,

      Movant,
V.                                                 Case No. CV614-128
                                                             CR6 12-00 5
UNITED STATES OF AMERICA,

      Respondent.

                  REPORT AND RECOMMENDATION

      Convicted by a jury of conspiracy to kidnap, two counts of

kidnapping, three of using a firearm during the conspiracy, one count of

obstruction of justice (doe. 133), and sentenced to "life plus 684 months

[in prison], to be served consecutively" (doe. 149 at 3), Antonio Murray

moves pro se for 28 U.S.C. § 2255 relief. Doe. 197.' The government

opposes. Doe. 209.

I. BACKGROUND

      At 10:00 p.m. on December 1, 2011, two masked men broke down

Timothy Marshlick's bedroom door, jumped on top of him in his bed, and

pointed guns at him. Doe. 159 at 204-05. They wanted money and


  All citations are to the criminal docket unless otherwise noted; all page numbers
are those imprinted by the Court's docketing software.
      Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 2 of 26




demanded to know where Marshlick kept his safe. Id. at 207-08. He had

no safe but told the intruders that he had cash at his office in Pooler,

Georgia. Id. at 211.

       After stealing a number of items from his house, the men threw

Marshlick into the back seat of his truck (but not after beating him for

trying to run away) and left for his office.    Id. at 211-12. Once there,

Marshlick convinced his kidnappers that a silent alarm would trigger if

they entered the office. Id. at 213-14. So, back to Marshlick's house they

went. Id. at 214.

       After searching for the non-existent safe again, the kidnappers

decided to return to the office despite Marshlick's earlier warning. Id. at

215. He again reminded them of the police threat but offered to obtain

money in the morning if they let him live. Id. The kidnappers approved

of the plan and held Marshlick overnight in a rundown house. Id. at 218-

19.

       The next morning, Marshlick called his business manager,

Shannon Rahn, and directed him to cash two $9,500 checks to pay for the

ransom.     Id. at 220. After Rahn did that, the kidnapper Marshlick

dubbed "Bob" called Rahn and, in a series of recorded calls (Rahn had


                                       2
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 3 of 26




already contacted the FBI), directed him where to drop the ransom

money. Id. at 77-137. On the way to the drop, Rahn noticed a burgundy

car shadowing his every move. Id. at 148-49. That car later stopped --

and a man emerged and appeared to look for something at the spot Rahn

dropped the money. Id. at 128.

     Little more than a month later, on January 12, 2012, Billy Downs

also endured a very unpleasant evening. Three masked, armed, men

accosted him outside his back door. Id. at 322. They demanded $250,000

and proceeded to ransack Downs' house.      Id. at 323-25. When Downs'

wife, Carolyn, arrived home, the men threatened to abduct her if Downs

didn't produce the money. Id. at 329.

     Instead, at Downs' suggestion, two of the men took Downs while a

third man stayed with Carolyn, who was now tasked with obtaining the

ransom, at the house. That third kidnapper, apparently hungry and

thirsty, looked all through the kitchen for food and drink, eventually

settling on a can of Mountain Dew, which he drank and then left in the

sink. Id. at 310-11; doe. 160 at 33.

      The next morning, Carolyn received a call from one of the

kidnappers, who told her to head to the bank. Doe. 159 at 287-88. She



                                       3
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 4 of 26




did, and eventually obtained the $250,000 in cash from several different

banks. Id. at 289-93, 295-300. At the kidnappers' direction, she dropped

some of the money in a ditch, and the rest in a dirt parking lot. Id. at

295-96, 300-01.

      The kidnappers then released Downs, who promptly led the FBI to

the trailer where the kidnappers held him (he grew up in the area and

knew the turns the kidnappers took even though blindfolded). Doc. 160

at 355-56. A search there revealed various items from both Marshlick's

and Downs' houses, as well as kidnapping paraphernalia (duct tape,

gloves, etc.) and money wrappers from one of the banks that provided

Rahn the Marshlick ransom money. Doc. 159 at 195-200. The trailer's

owner, Gary McDonald, immediately cooperated with the FBI and told

agents that Murray and a third man, Cecil Nelson, were involved in the

Marshlick and Downs kidnappings. Doc. 160 at 526.

      A search of Murray's apartment revealed a "huge" flat screen TV,

an empty box for another TV, two pairs of high end sunglasses, eight cell

phones, receipts for other cash purchases, 2 and $1,800 cash found on


2
  In early January 2012, Murray paid an auto body shop $17,000 cash to paint and
make custom modifications to a Chevrolet Monte Carlo. Doc. 160 at 576-78. He
spent $3,000 cash on January 15, 2012 to buy another car. Id. at 569. He bought
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 5 of 26




Murray. Id. at 398-402, 414-15. A short distance from the apartment,

investigators found in a dumpster flower arrangements, sculptures,

candle holders, vases, and other items taken from Marshlick's home. Id.

at 454-58. Murray's cars -- one of which was newly painted silver to

cover a previous burgundy paint job, id. at 404-06 -- contained gloves and

a mask with eyeholes cut out, both consistent with items worn by the

kidnappers. Id. at 409-11.

      Nelson and McDonald, Murray's co-kidnappers, both reached plea

deals with the government. Murray chose to go to trial, where McDonald

testified against him. Also arrayed against him were cellular telephone

records that detailed where his phone was during the Marshlick and

Downs kidnappings, voice identification witnesses who testified that the

voice of "Bob" on recordings was Murray's, and DNA evidence from the

Mountain Dew can in the Downs' home (Murray's own testimony -- over

the advice of counsel to remain silent -- likely did not help either). Faced

with that evidentiary mountain, the jury convicted Murray on all

charges. Doe. 133.




tires and rims ($875), id. at 574-75, paid old speeding tickets ($510), id. at 589, and
managed to pay $720 towards delinquent child support obligations. Id. at 572.

                                           5
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 6 of 26




     On direct appeal, Murray asserted that (1) counsel provided

ineffective assistance because the magistrate judge refused to approve

money for a defense DNA expert, and (2) his inability to question the

state biologists who analyzed the Mountain Dew can violated the

Confrontation Clause. See Murray, 540 F. App'x at 920. The court of

appeals rejected both claims. Id. This § 2255 motion followed. Doe. 197.

II. ANALYSIS

     A. Ineffective Assistance of Counsel (IAC)

     Murray's first eight claims all surround the ineffective assistance

his attorney, Bobby Phillips, allegedly provided. See doe. 198 at 4-15. He

must show "that (1) counsel's representation fell below an objective

standard of reasonableness, and (2) counsel's deficient performance

prejudiced the defendant." Hollis v. Sec'y, Fla. Dep't of Corr., 2015 WL

5847258 at * 1 (11th Cir. Oct. 8, 2015) (citing Strickland v. Washington,

466 U.S. 668, 687 (1984)). "[P]erformance is deficient when it falls below

an objective standard of reasonableness" and is "outside the wide range

of professionally competent assistance." Id. And prejudice occurs if "but

for counsel's unprofessional errors, the result of the proceeding would

have been different." Id.


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   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 7 of 26




             1. Failure to Investigate Mark Crowe's Testimony

     Murray first claims that Phillips failed to investigate the

impeachment testimony of Pooler, Georgia Chief of Police Mark Crowe, a

long-time acquaintance of Murray's who recognized his voice on recorded

calls. Doc. 198 at 4. He contends that Phillips knew Crowe was seven

years older than Murray and therefore graduated high school before

Murray attended. Also, Crowe was Carolyn Downs' student.                 Id.

Phillips, Murray argues, should have used that knowledge to impeach

Crowe. Id.

     In fact, Phillips cross-examined Crowe and highlighted that Crowe

and Murray attended high school at different times, ostensibly to show

the jury Crowe's unfamiliarity with Murray's voice. See doc. 159 at 162-

63. He also teased out that Crowe had never spoken to Murray on the

phone, id. at 163, and only occasionally interacted with Murray.    Id. at

164. Although Phillips never questioned Crowe about his time in

Carolyn Downs' class (Murray believes that bringing this fact out would

show Crowe's bias, or something), the Court cannot second guess that


                                    7
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 8 of 26




decision because it was "arguably dictated by a reasonable trial

strategy," in this case minimizing the jury's exposure to Downs, a

sympathetic victim. See King v. United States, 2009 WL 2900273 at * 3

(S.D. Ga. Aug. 17, 2009); see also Provenzano v. Singletary, 148 F.3d

1327, 1332 (11th Cir. 1998) ("In order to show that an attorney's

strategic choice was unreasonable, a petitioner must establish that no

competent counsel would have made such a choice."). Put differently,

Phillips performed competently in his cross-examination of Crowe and

Murray's claim thus fails.

             2. Failure to Challenge Cell Phone Chain of
                 Custody

      Cell phones seized from Murray provided the jurisdictional "hook"

that landed him in federal court,' and they also provided key geolocation

and voice evidence considered by the jury. Murray argues that Phillips

should have challenged the chain of custody of those phones, particularly

since they were, says Murray, stolen and tampered with while in police

custody. See doc. 198 at 5-6. He also attacks Phillips' failure to call the

   See 18 U.S.C. § 1201(a)(1) (prohibiting kidnapping and holding for ransom any
person when "the offender . . . uses . . . [an] instrumentality of interstate .
commerce in committing or in furtherance of the commission of the offense"); United
States v. Evans, 476 F.3d 1176, 1180 (11th Cir. 2007) ("[C]ellular telephones are
instrumentalities of interstate commerce . . . even without evidence that the calls ...
made were routed through an interstate system. . .
      Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 9 of 26




phones to see if they rang, and claims the government lied when it

represented that one phone, trial exhibit 127A, came from Murray.                Id.

at 5. Murray's phones, the government contends, suffered no chain-of-

custody issues, so Phillips had no meritorious issue to argue. Doc. 209 at

25.

       To begin, Murray is simply wrong that the phones which provided

substantial incriminating evidence against him were seized from Cecil

Nelson's truck and later stolen while in law enforcement custody.

Certainly some phones seized from the truck were later stolen. See doe.

198 at 19-20 (FBI form 302 describing the theft of two phones from

Nelson's truck by an employee of the towing company that moved the

truck on January 22, 2012). But as Special Agent Ozden's trial

testimony made clear, Murray's phones, Exhibits 125A and 127A, were

seized from Murray's apartment during a lawful, warranted search.' See

doe. 160 at 78. Arguing ipse dixit to the contrary in a § 2255 motion does

not change that.

       Nor was Phillips ineffective for not dialing the phone numbers

attributed to Murray to see if the phones introduced in evidence actually

' Murray's claim that the government lied about the origins of Exhibit 127A (see doc.
198 at 5) fails because of this same evidence.
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 10 of 26




rang. FBI analyst Charles McStotts investigated the phones pursuant to

a search warrant and testified that the numbers corresponded to

Exhibits 125A and 127A respectively. See doc. 160 at 93-96. Murray's

conclusory assertions to the opposite effect once again cannot undermine

the plain import of unrebutted trial testimony. His phone-based IAC

claims are frivolous, and because a failure to raise non-meritorious

arguments cannot prejudice § 2255 movants, see United States v.

Winfield, 960 F.2d 970, 974 (1992) ("[A] failure to preserve a meritless

issue plainly cannot prejudice a client."), they perish.

            3. Phillip's Failure to Secure an Independent
                 DNA Expert

      Murray next argues that Phillips provided constitutionally

defective assistance by not hiring an independent expert to analyze the

DNA obtained from the Mountain Dew can in the Downs' kitchen sink.

Doc. 198 at 6-8. Had Phillips done that, Murray contends, "it would be

shown that the amount of sample material was too small to obtain a

reliable profile and that the 1 in 6500 random probability match was

meaningless in a criminal trial." Id. at 8.

      A decision not to call an expert witness is, in and of itself, "not so

patently unreasonable a strategic decision that no competent attorney

                                      10
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 11 of 26




would have chosen this strategy." Dorsey v. Chapman, 262 F.3d 1181,

1186 (11th Cir. 2001). A § 2255 movant still must show that, under the

circumstances, no reasonable counsel would have chosen to forego an

expert, and must show that but for the decision, the result of the

proceeding would have been different. See Strickland, 466 U.S. at 687.

     Murray has not, and cannot, make that showing. As Phillips

acknowledged in his opening statement, doc. 159 at 40, the Mountain

Dew can only contained a tiny amount of DNA to begin with, and the

FBI's analysis consumed it all. See also doe. 160 at 160 (FBI DNA expert

testified that the can contained "a very, very small amount of DNA"); id.

at 166 (DNA sample "was so small that" there wasn't "much extract left

over"). Had Phillips hired an expert, he or she could only have analyzed

the data produced by the FBI, not actual DNA.

     In light of that, Phillips decided to forego an expert and instead

attack the government's DNA evidence via cross-examination. He

elicited from the government's expert that 0.5 nanograms of DNA are

needed to obtain a "full DNA profile," but that only 0.19 nanograms

came from the Mountain Dew can (0.38 nanograms after replication in a

lab). See id. at 161. Throughout trial, he argued the unreliability of


                                    11
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 12 of 26




such a small sample, see id.; doe. 159 at 40, and highlighted the large

match probability difference between the sample attributed to Murray (1

in 6,500) and that from a full-size DNA sample (1 in several trillion).

Doe. 159 at 40; doe. 161 at 692-93. Phillips in fact pointed out that the

DNA sample obtained would match at least eight people in Bulloch and

Bryan counties. Doe. 161 at 693.

     Despite Murray's belief that his success at trial depended on the

presence of a second DNA expert,

  Strickland does not enact Newton's third law for the presentation
  of evidence, requiring for every prosecution expert an equal and
  opposite expert from the defense.

     In many instances cross-examination will be sufficient to expose
  defects in an expert's presentation. When defense counsel does not
  have a solid case, the best strategy can be to say that there is too
  much doubt about the State's theory for a jury to convict. And
  while in some instances 'even an isolated error' can support an
  ineffective-assistance claim if it is 'sufficiently egregious and
  prejudicial,' Murray v. Carrier, 477 U.S. 478, 496, 106 S.Ct. 2639,
  91 L.Ed.2d 397 (1986), it is difficult to establish ineffective
  assistance when counsel's overall performance indicates active and
  capable advocacy. Here [Murray]'s attorney represented him with
  vigor and conducted a skillful cross-examination. As noted, defense
  counsel elicited concessions from the State's expert[] and was able
  to draw attention to weaknesses in [her] conclusions. . .

Harrington v. Richter, 562 U.S. 86, 111 (2011); see also Jackson v.

McQuiggin, 553 F. App'x 575, 580-82 (6th Cir. 2014) (counsel reasonably


                                    12
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 13 of 26




decided not to hire an arson expert and instead cross-examine the state's

expert because forensic evidence contradicted his conclusions);         United

States v. Smallwood, 2015 WL 94155 at * 2 (W.D. Ky. Jan. 7, 2015)

(same); Bradley v. Thaler, 2011 WL 8108274 at * 5 (N.D. Tex. Dec. 7,

2011) ("[Cjjounsel's decision not to hire a defense expert in accident

reconstruction and instead conduct a vigorous cross-examination of the

state's expert was not unreasonable."). Because (1) the lack of DNA

precluded a fresh analysis, and (2) questioning the government's expert

remained a viable defense technique, Phillips' decision to counter the

government's DNA evidence through cross-examination instead of a

redundant expert constituted a reasonable trial strategy.

      Even if the Court assumes Phillips performed deficiently, Murray

makes no showing that not hiring an expert caused him any prejudice. A

co-conspirator testified that Murray participated in the Downs

kidnapping;' a mask found in Murray's car matched those worn by the

Downs kidnappers; Murray spent a large sum of cash the month after the

Downs kidnapping; and the "overwhelming evidence [showed] that

Murray had been involved just a month earlier in a materially identical

  As the government correctly notes, the DNA on the Mountain Dew can only spoke
to Murray's presence at the Downs kidnapping, not Marshlick's. Doc. 209 at 28.

                                       13
      Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 14 of 26




crime." Doc. 209 at 28 n. 7. That mountain alone, without considering

DNA evidence tying Murray to the Downs' house, easily supports the

guilty verdict the jury reached. Hence, Murray cannot show a reasonable

probability exists that, but for the absence of a DNA expert, his trial

would have ended differently. Having suffered no prejudice from

counsel's otherwise competent performance, Murray's DNA-expert IAC

claim fails.

               4. Failure to Appeal Magistrate Judge Orders

        In addition to criticizing Phillips' decision not to hire a DNA

expert, Murray lambasts him for not appealing the undersigned's denial

of his motion for DNA and voice identification experts. Doc. 198 at 8-9.

Those failures to appeal, Murray contends, allowed the government's

DNA expert to go "virtually unchallenged," id. at 9, and prevented him

from showing that the recorded voice of "Bob" did not match Murray's.

Id.

        As discussed above, not having a DNA expert caused Murray no

prejudice. Regardless of whether Phillips should have objected to the

undersigned's denial, then, Murray's IAC claim fails. See Strickland, 466

U.S. at 691 ("An error by counsel, even if professionally unreasonable,


                                       14
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 15 of 26




does not warrant setting aside the judgment of a criminal proceeding if

the error had no effect on the judgment.").

     So too does his voice identification-expert argument.

  Unlike scientific, medical, and even handwriting analysis, 'voice
  identification is not generally considered to be an area where
  expertise is important.' United States v. Cambindo Valencia, 609
  F.2d 603, 640 (2d Cir. 1979) (citing Fed. R. Evid. 901(b)(5)).
  Indeed, juries themselves often make voice comparisons with
  authenticated specimens without the help of expert testimony. See
  United States v. Fearon—Hales, 224 F. App'x 109, 112 (2d Cir.
  2007) ("[T]he jury is generally competent to compare voice
  recordings with authenticated specimens, and no expert witness is
  required."); Tyson v. Keane, 159 F.3d 732 2 738 (2d Cir. 1998) ("[A]
  jury cannot discern whether a fingerprint from the scene matches
  defendant's prints without expert assistance. Voice identification,
  however, does not depend on specialized expertise. Juries may
  listen to an audiotape of a voice and determine who is speaking
  even though the voice has been authenticated only by a lay witness
  rather than an expert."); United States v. Sliker, 751 F.2d 477 2 500
   (2d Cir. 1984) ("We thus see no reason in principle why, in a case
  like this, where the person whose voice on a tape is to be identified
  has testified, the jury cannot itself make the comparison.").
  Likewise, lay witnesses can compare voices and make
  identifications, and the jury can decide whether to believe such
  witnesses. See United States v. Rizzo, 492 F.2d 443, 448 (2d
   Cir. 1974). Attacking the credibility of such lay witness testimony
   on cross-examination is well within reasonable trial strategy. See
  Samet v. United States, 559 F. App'x 47, 50 (2d Cir. 2014) (failure
  to call or consult expert handwriting and voice identification
   witnesses was not ineffective because trial counsel reasonably
   "elected to undermine the government's witnesses through cross-
   examination rather than through rebuttal experts").

Marte v. United States, 2015 WL 4094187 at * 2 (D. Conn. July 7, 2015).


                                     15
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 16 of 26




     That's what Phillips reasonably chose to do here -- he attacked the

credibility of the three lay voice identification witnesses who identified

Murray as the speaker on various FBI recordings of the kidnappers. See,

e.g., doc. 159-64 (drawing attention to facts suggesting that Crowe,

despite his acquaintance level association with Murray over twenty-five

years, might not be able to recognize his voice on a recording). Jurors,

acting within their competency as laypeople, then weighed the cross-

examined testimony against their own comparison of the recordings and

Murray's voice (recall that he testified in his own defense, doe. 160 at

275-322). See Marte, 2015 WL 4094187 at * 2. That they subsequently

concluded the recordings reflected Murray's voice does not reflect

unreasonable trial strategy; rather, it shows that the jury weighed the

evidence and found Murray's lacking. An IAC claim premised on that, in

the face of counsel who engaged in spirited cross-examination of the

government's witnesses, cannot prevail.

           5. Failure to Object to Hearsay Testimony

     Murray next complains that Phillips failed to raise a Confrontation

Clause objection to alleged hearsay testimony from Dr. Charity Davis,

the government's DNA expert. Doe. 198 at 9. That failure, Murray


                                    16
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 17 of 26




contends, resulted in "[tjhe Appeals Court den[ying] the appeal issue

because . . . it was not preserved at trail [sp]." Id. Not so. The court of

appeals directly addressed the issue and held that "Davis's testimony did

not violate the Confrontation Clause" and thus caused no "error, plain or

otherwise."'    Murray, 540 F. App'x at 921. Whether or not Phillips

performed deficiently in failing to assert Murray's confrontation rights,

"no error" means no prejudice and Murray's IAC claim thus fails.

             6. Failure to Challenge Voice Identification
                 Testimony

      Murray's sixth IAC claim faults Phillips for allegedly not

challenging Lakeena Grant's testimony identifying Murray's voice on

FBI recordings of the Marshlick kidnapping. Doe. 198 at 11. But

Phillips did challenge Grant's testimony. Under his cross-examination,

she revealed that she only worked with Murray for three months, for less

than four days per week, and only for short periods of time. Doe. 159 at

264-68. She also testified that she never spoke to Murray on the phone

or heard a recording of his voice. Id. at 264. Phillips, too, probed the

6
    Murray also argues that the Eleventh Circuit declined to consider this issue
because Phillips failed to preserve it. Doe. 198 at 11. That's just not the case.
Expressly addressing the constitutional implications of Davis' testimony, the court
ruled that it simply "did not violate the Confrontation Clause." Murray, 540 F. App'x
at 921.

                                         17
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 18 of 26




FBI's questioning of Grant to illuminate potential "suggestive police

action" (doe. 198 at 12) that might have undermined her identification of

Murray. Doc. 159 at 266-68. What more Phillips could have done to

"challenge" Grant's testimony is unclear (Murray offers no details) and

in any case irrelevant since his conduct fell within, not outside, "the wide

range of professionally competent assistance." Hollis, 2015 WL 5847258

at * 1.

           7. Failure to Investigate Exculpatory Voice
               Evidence

      Murray's seventh IAC claim sees deficiency in Phillips decision not

to call Tammie Lawson, one of Murray's co-workers, to testify that the

recorded voice of "Bob" was not Murray's. Doe. 198 at 15. Phillips, he

says, knew that Lawson told the FBI that Bob's voice did not match

Murray's, yet declined to present her testimony at trial. Id.

      Even if Phillips acted precisely as Murray alleges, Murray fails to

show how that conduct caused him prejudice.          See Hollis, 2015 WL

5847258 at * 1 (habeas petitioners bear the burden of showing prejudice).

Indeed, he alleges nothing that relates to the impact Lawson's testimony

would have had on the trial, much less anything to suggest "the result of



                                     18
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 19 of 26




the proceeding would have been different" had she testified.'                    Id.

Because Murray had to "carry his burden on both Strickland prongs to

demonstrate ineffective assistance of counsel," id. his claim fails.             See

also Topete v. United States, No. 14-14703, slip op. at 3 (11th Cir. Oct. 19,

2015) ("[A] court need not determine whether counsel's performance was

deficient before examining the prejudice suffered by the defendant as a

result of the alleged deficiencies.").

             8. Failure to Renew Hearsay Objection

      In his final IAC claim, Murray contends that Phillips should have

renewed his hearsay objection to testimony by FBI Special Agent Kiarer

"regarding what was told him by Queen Murray," and should have raised

the issue on appeal .8 Doc. 198 at 14-15. He further argues that his


' Even if the jury fully credited Murray's hypothetical Lawson testimony, and in
doing so fully discredited the other positive voice identification witnesses, Murray
cannot show prejudice. The remaining evidence against him -- his DNA at the scene
of the Downs' kidnapping; co-conspirator testimony tying him to both kidnappings;
multiple large cash purchases by an otherwise destitute Murray in the month after
the Downs kidnapping; the presence of Marshlick's house decorations in a dumpster
near Murray's apartment; Murray's car matching the car that picked up the
Marshlick ransom money; the mask and gloves in Murray's car that matched the
kidnappers'; and geolocation evidence tying Murray's phone to the Marshlick
kidnapping -- allows for little to no possibility that the result of trial would have
changed at all had Lawson testified.

8
  Klarer testified that Queen Murray told him that Murray directed her to dispose of
certain items in a dumpster some distance from the Murray apartment. Doc. 160 at
114. Phillips objected on hearsay grounds, id., but the Court overruled him, finding

                                         19
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 20 of 26




testimony violated the "spousal privilege," and that Phillips should have

objected on that basis too. Id. at 15.

      Once again, Murray cannot show prejudice from counsel's conduct.

Phillips objected once to Kiarer's testimony. Doc. 160 at 114. That

testimony continued over his objection, but never strayed beyond the

Court's evidentiary ruling (that the government confine its questioning

to why Klarer searched a dumpster miles from Murray's apartment).

Murray gives no reason why (1) a second objection parroting the first

would have had any chance of success (much less a reasonable

probability, see Strickland, 466 U.S. 668, 687 (1984)), or (2) the court of

appeals would have reversed the district judge and Murray's conviction

for the Marshlick kidnapping if it excluded the dumpster evidence.

Because Murray's spousal privilege argument also lacks merit,' his claim

does too.


that the testimony explained why Kiarer went to the dumpster and was not offered
for the truth of the matter asserted. Id. at 115.

   The "spousal" or "marital" privileges, both under Georgia and federal law, (1)
allow one spouse to refuse to testify against the other, see O.C.G.A. § 24-5-503(a) ("A
husband and wife shall be competent but shall not be compellable to give evidence in
any criminal proceeding for or against each other."); United States v. Abram, 2006
WL 690850 at * 4 (11th Cir. Mar. 20, 2006) (marital testimony privilege may be
asserted by the witness spouse only), or (2) prohibit as evidence at trial
communications between husband and wife. O.C.G.A. § 24-5-501(a)(1); Abram, 2006
WL 690850 at * 4. Queen Murray never testified against her husband (though, she
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 21 of 26




            9. Throwaway IAC Claims

      In his "summary of the argument," Murray includes several

additional IAC claims found nowhere else: that Phillips (1) waived his

speedy trial rights "on the pretense of devising a defense strategy, but

failed to reveal any strategy at trial;" (2) presented no witnesses or

evidence except "that which was obtained by Murray from inside jail;"

(3) "gave no meaningful challenge to any of the government's

evidence;" and (4) failed to object or appeal key issues. Doc. 198 at 3. All

of those claims see no support elsewhere in Murray's briefing. Standing

alone, they lack any factual support and are simply conclusory assertions

that can't satisfy Murray's burden to show deficient performance and

prejudice. See Strickland, 466 U.S. at 687; Lynn v. United States, 365

F.3d 1225, 1239 (11th Cir. 2004) (conclusory allegations do not warrant

an evidentiary hearing).

      B. Brady Violations

      For his first non-IAC claim, Murray alleges that "[t]he

prosecution['s] fail[ure] to divulge" two "exculpatory voice identification



could have waived the privilege if she so desired, see Abram, 2006 WL 690850 at * 4),
nor were her communications with him introduced as evidence.


                                         21
      Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 22 of 26




witnesses" (doe. 198 at 15-16), and Carolyn Downs' teacher-student

relationship with Mark Crowe (id. at 4-5) violated due process.                          See

Brady v. Maryland, 373 U.S. 83 (1963).' ° In addition to pointing out

Murray's procedural default of these claims, the government cites

uncontroverted evidence that it disclosed both witnesses to Murray's

counsel, while Murray himself already knew of the Downs-Crowe

relationship. See doe. 198 at 4-5. Both arguments persuade, and both

dispose of this claim.




10
  Brady held "that the suppression by the prosecution of evidence favorable to an
accused upon request violates due process where the evidence is material either to
guilt or to punishment, irrespective of the good faith or bad faith of the prosecution."
373 U.S. at 87.

     To establish a Brady violation, a petitioner must show that: (1) the prosecution
     possessed evidence favorable to the accused, because it was either exculpatory
     or impeaching, and did not disclose it to the defense; (2) the State suppressed
     the evidence such that the defense did not otherwise possess the evidence and
     could not reasonably have obtained it; and (3) the evidence was material, and
     its absence yielded prejudice. See, e.g., Kelley v. Sec'y for the Dep't of Corr., 377
     F.3d 1317, 1354 (11th Cir. 2004); Strickler v. Greene, 527 U.S. 263, 281-82, 119
     S.Ct. 1936 ) 1948 ) 144 L.Ed.2d 286 (1999). Evidence is material so as to
     establish prejudice only "if there is a reasonable probability that, had the
     evidence been disclosed to the defense, the result of the proceeding would have
     been different. A 'reasonable probability' is a probability sufficient to
     undermine confidence in the outcome." United States v. Bagley, 473 U.S. 667,
     682, 105 S.Ct. 3375, 3383, 87 L.Ed.2d 481 (1985).

Gary v. Hall, 558 F.3d 1229, 1255 (11th Cir. 2009).


                                              22
   Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 23 of 26




           1. Procedural Default

     Murray never raised his Brady claims on direct appeal.               See

Murray, 540 F. App'x 918. And, "[a] § 2255 motion, it must be

remembered, may not be used as a 'surrogate' for a missed direct

appeal." Jones v. United States, 2015 WL 464243 at * 1 (S.D. Ga. Jan.

28 7 2015) (citing Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir.

2004)); see Stone v. Powell, 428 U.S. 465, 478 n. 10 (1976) (28 U.S.C. §

2255 will not be allowed to do service for an appeal). "Under the

procedural default rule, a defendant generally must advance an available

challenge to a criminal conviction or sentence on direct appeal or else the

defendant is barred from presenting that claim in a § 2255 proceeding."

McKay v. United States, 657 F.3d 1190, 1196 (11th Cir. 2011).

     A procedural default may be overcome if the movant can show

"cause excusing his failure to raise the issue previously and prejudice

from the alleged error."   United States v. Nyhuis, 211 F.3d 1340, 1343

(11th Cir. 2000). Ineffective assistance of counsel (IAC) can constitute

cause. Id. Although Murray asserts at least eight separate IAC claims,




                                     23
    Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 24 of 26




none relate to Phillips' "failure" to raise Brady claims on appeal." They

therefore cannot serve as cause for his default, which accordingly bars

his Brady claims. Id. at 1344 (IAC "may satisfy the cause exception to a

procedural bar," but only if the arguments counsel failed to raise would

"have affected the outcome of [the] appeal").

            2. Brady Claim -- The Merits

      Even if Murray's Brady claims weren't barred by a procedural

default, they nevertheless suffer from a complete lack of merit. The

voice identification witnesses Murray says the government never

disclosed were in fact disclosed. See doc. 209-3 (email exchange between

Phillips and Assistance United States Attorney Brian Rafferty detailing

who at Wolf Management (Murray's employer) identified Murray's voice

and who did not); doe. 209-4 (FBI 302 report of interview with Tammy

Lawson, the witness Murray highlights as a person who thought the

recorded voice of "Bob" was not Murray). And the Carolyn Downs-


 ' Murray, amongst a raft of allegations aimed at Phillips' alleged failure to
investigate, states in his first IAC claim that the government failed to make "known
to the defense as Brady material" that Carolyn Downs taught Crowe. Doc. 198 at 5.
To the extent that states a Brady claim, it could, if meritorious, serve as cause for
procedural default. As discussed above, however, the claim has no merit whatsoever
since (1) Murray himself knew Downs taught Crowe, and (2) Phillips performed
competently in attacking the government's voice identification witnesses, Crowe
included.

                                         24
      Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 25 of 26




Crowe relationship never qualified as Brady material because (1) Murray

knew Downs taught Crowe, see Gray, 558 F.3d at 1255 (second element

of Brady claim requires government suppression of evidence "such that

the defense did not otherwise possess"), and (2) Murray fails to allege

anything suggesting that the relationship was material and that its

"absence yielded prejudice."" Id. Having been procedurally defaulted

and lacking all merit, his Brady claims fail.

         C. Denial of Motion to Retain a DNA Expert

         In his final claim, Murray argues that "[t]he Court abused its

discretion in denying Murray's motion for expenditure to hire DNA

expert witness." Doe. 198 at 17. The court of appeals already passed on,

and rejected, that argument,' 3 so this court "is not required to consider

[it]" in a § 2255 proceeding. Nyhuis, 211 F.3d 1340, 1343. Even if they
12
     Murray only alleges that "[h]ad defense counsel properly investigated the
information provided him by Defendant, Crowe's testimony and voice identification
would be shown to be false and his personal connection to the case revealed." Doc.
 198 at 5. Maybe. But just as likely -- to say nothing of reasonably probable -- was the
jury deciding that Downs teaching Crowe mattered not at all. At best, the jury could
have agreed with Murray that Crowe's testimony was tainted. But that leaves two
other voice identification witnesses who testified that "Bob" was Murray, not to
mention the raft of other evidence tying him to the Marshlick kidnapping (recall also
that the voice identification evidence served only to link Murray to the Marshlick
crime, not the Downs episode).
13
     See Murray, 540 F. App'x at 920 (rejecting claim because Murray never appealed
the undersigned's denial of expert funds).


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       Case 6:12-cr-00005-JRH-CLR Document 228 Filed 11/12/15 Page 26 of 26




hadn't, Murray never appealed the undersigned's funds denial" and so

"waive[d his] right to review." Fed. R. Crirn. P. 59(a).

III.    CONCLUSION

        Murray's § 2255 motion (doe. 197) should be DENIED. Moreover,

pursuant to Rule 11 of the Rules Governing § 2255 Proceedings, 15 and

applying the Certificate of Appealability ("COA") standards set forth in

Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009),

the Court discerns no COA-worthy issues at this stage of the litigation,

so no COA should issue. 28 U.S.C. § 2253(c)(1). And, as there are no

non-frivolous issues to raise on appeal, an appeal would not be taken in

good faith. Thus, in forma pauperis status on appeal should likewise be

DENIED. 28 U.S.C. § 1915(a)(3).

         SO REPORTED AND RECOMMENDED, this /?' ' day of

November, 2015.


                                        _;;V90zd
                                       UNITED S3rATES MXGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA

14
  As noted above, Phillips performed competently in deciding not to appeal that
decision. Even if he hadn't, the failure to appeal caused Murray no prejudice because
Phillips thoroughly attacked the DNA evidence via cross-examination.

15
   Under Rule 11(a), "[t]he district court must issue or deny a [COA] when it enters
a final order adverse to the applicant."


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